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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


 MONTERIA NAJUDA ROBINSON,
              Plaintiff,
                                                     CIVIL ACTION FILE
 vs.
                                                      NO. 1:18-cv-0131-TCB
 WILLIAM SAULS, STEVE
 SCHRECKENGOST, STEVE O'HARE,
 DANIEL DOYLE, KRISTOPHER
 HUTCHENS, DANIEL DURAND, JOSHUA
 MAUNEY, ERIC HEINZE, JOHN DOE
 POLICE OFFICER, UNKNOWN JOHN DOE
 EAST POINT GEORGIA POLICE OFFICERS
 1-10, CITY OF ATLANTA, FULTON
 COUNTY, CLAYTON COUNTY, FAYETTE
 COUNTY SHERIFF BARRY H. BABB, CITY
 OF EAST POINT, SANTEZ KINDRED,
 PAMELA J. DOYLE, UNITED STATES OF
 AMERICA, AND CITY OF ATLANTA,
                  Defendants.



                                            JUDGMENT

        This action having come before the court, Honorable Timothy C. Batten, Sr., United

States District Judge, for consideration of defendants’ Motions for Summary Judgment, and the

court having granting said motions, it is

        Ordered and Adjudged that the plaintiff take nothing; that the defendant recover its costs

of this action, and the action be, and the same hereby is, dismissed.

        Dated at Atlanta, Georgia, this 30th day of March, 2021.

                                                            JAMES N. HATTEN
                                                            CLERK OF COURT

                                                      By: s. D .Barfield
                                                       Deputy Clerk
Prepared, Filed, and Entered in
the Clerk's Office
March 30, 2021
James N. Hatten Clerk
of Court

By: s/ D. Barfield
Deputy Clerk
